Case 2:04-cv-02445-SHI\/|-dkv Document 11 Filed 05/19/05 Page 10f12 P
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IN THE UNITED sTATEs DISTRICT coURT QSHAY;Q
FOR THE wEsTERN DISTRICT oF TENNESSEE '
wESTERN DIVISION

 

 

MICHELLE SHARLOW,
Plaintiff,

v. No. 04-2445 Ma/V
CENDA.NT CAR RENTAL GROUP, INC.,
d/b/a BUDGET RENT A CAR SYSTEM,
INC., ROBERT LINTON LEARY,
Individually and d/b/a NEW
RIVER VALLEY BLACKSBURG, and
DOUGLAS RANDALL BENSON,
Individually,

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Defendants.

 

ORDER ON DEFENDANTS' MOTION TO DISMISS

 

This action for negligence and intentional infliction_ of
emotional distress arises from a criminal prosecution_ of the
Plaintiff in Montgomery County, Virginia, for the alleged theft of
an automobile rented from the Defendants or affiliated entities.
Before the court is the Defendants' motion to dismiss, filed

September 27, 2004. Plaintiff Michelle Sharlow responded on
October 21, 2004. For the following reasons the court DENIES the
motion to dismiss to the extent it asserts lack of jurisdiction and
venue and STAYS the case pending the outcome of the Virginia
criminal proceeding.
I. Background

The following facts are taken from the complaint. On June 28,
2003, Sharlow rented a truck from New River Valley Blacksburg in

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Case 2:O4-cv-O2445-SHI\/|-dkv Document 11 Filed 05/19/05 Page 2 of 12 Page|D 20

Blacksburg, Virginia. (Compl. T 6.) New River Valley Blacksburg
rents vehicles under the franchise name “Budget Rent-A-Car”
(“Budget”). {Id. II 3-4.) On Thursday, July 3, 2003, Sharlow
returned the truck to the Budget location at 7171 Stage Road in
Bartlett, Tennessee. Sharlow’s return of the vehicle was late, but
she had sought and received verbal confirmation that the late
return was permissible. (Id. II 7-8.) She returned the truck after
hours, so she put the keys in the drop slot and left her paperwork
in the truck so that Budget would know who had rented the truck.
When she called the Budget store on Stage Road the next week, she
was told that Budget had received the truck. (Id. I“ 8-9.)
Sharlow received a call approximately three weeks later at her
job at City Auto Finance in Memphis, Tennessee, from a sheriff’s
deputy in Montgomery County, Virginia. The deputy told Sharlow
that a representative of Budget was seeking a warrant for her
arrest for the theft of the truck she had rented. Sharlow assured
the sheriff's deputy that she had returned the truck on the day she
had agreed she would, July 3, 2003. (Id. T“ lO-ll.) Approximately
one week later, on August 21, 2003, two undercover police officers
came to Sharlow’s place of employment and arrested her. Upon her
release on bond, Sharlow called Cendant Rental Group, Inc.
(“Cendant”}, d/b/a Budget Rent A Car Systems, Inc., and spoke with
a woman named Dale Harvey, who indicated that she would take care

of the charges. (Id. HH 14-15.)

Case 2:O4-cv-O2445-SHI\/|-dkv Document 11 Filed 05/19/05 Page 3 of 12 Page|D 21

Sharlow called the Commonwealth.Attorney in Montgomery County,
Virginia, who told her that the owner of New River Valley
Blacksburg was the only person who could drop the charges. Sharlow
got in touch with Defendant Douglas Benson, an employee of New
River Valley Blacksburg, who refused to drop the charges. (ld. jj
16-19.) Sharlow moved to Allen, Texas, unaware that a warrant for
her arrest was still in effect. She applied for a job in law
enforcement and, upon receiving a call to check her references, the
Montgomery County Sheriff's Department was notified that Sharlow
was in Texas and had an outstanding warrant.(Id. jj 20-22.)
Sharlow was arrested again and remained in jail in Texas until
March 18, 2004, when she was extradited to Virginia and released on
bond.1 (Id. q 23.)

II. Jurisdiction

Plaintiff is a citizen of Texas. Defendant Cendant is a
Delaware corporation, and Defendant Robert Linton Leary' is a
citizen of Virginia. Leary is also the sole proprietor of New
River Valley Blacksburg in Blacksburg, Virginia. Defendant Douglas
Randall Benson is an employee of New River Valley Blacksburg and,
presumably, also a citizen of Virginia.2 Plaintiff seeks damages

in excess of $75,000. Thus, the court has diversity jurisdiction

 

l Neither the complaint, nor any subsequent filing, indicates precisely
when the events surrounding Plaintiff's arrest in Allen, Texas took place.

2 The jurisdictional facts are taken from the complaint. The Defendants
have not answered the oomplaint, and their motion to dismiss does not contest
subject-matter jurisdiction.

Case 2:O4-cv-O2445-SHI\/|-dkv Document 11 Filed 05/19/05 Page 4 of 12 Page|D 22

over the subject matter of this litigation under 28 U.S.C. § 1332.

The Plaintiff has the burden of establishing this court's
personal jurisdiction over the Defendants. Neogen Corp. v. Neo Gen
Screeningl Inc., 282 F.3d 883, 887 (6th Cir. 2002). Plaintiff can
meet this burden by “establishing with reasonable particularity
sufficient contacts between [the defendant] and the forum state.”
ld; (quoting CompuServe, Inc. v. Patterson, 89 F.3d 1257, 1262 (6th
Cir. 1996)). When there has been no evidentiary hearing on the
issue of jurisdiction, the court will not consider facts proffered
by the defendant that conflict with those offered by the plaintiff,
and will construe the facts in the light most favorable to the
nonmoving party in deciding a motion to dismiss under Fed. R. Civ.
P. 12(b)(2).3 ld; (citing Serras v. First Tenn. Bank Nat'l Ass’n,
875 F.Zd 1212, 1214 (Gth Cir. 1989)).

The Defendants argue that this court does not have
jurisdiction over Robert Linton Leary or Douglas Randall Benson,
the individuals who initiated the criminal proceeding against the
Plaintiff, because they did not have sufficient contacts with the

state of Tennessee.4 A federal court has personal jurisdiction in

 

3 Defendants do not make factual assertions that conflict with those in
the complaint. Rather, they argue that the complaint's allegations are
insufficient in various respects. Thus, the court will accept the allegations
as true for purposes of this motion.

4 The complaint does not clearly state which of these defendants
actually pressed and/or pursued the criminal charges against Plaintiff.
Because the Defendants do not contest the inference from the complaint that
“Defendants Leary and Benson filed a criminal warrant against Plaintiff in
Virginia,” the court will accept that inference for purposes of this motion.
(Memo. in Supp. of Mot. to Dismiss at 9.}

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Case 2:O4-cv-O2445-SHI\/|-dkv Document 11 Filed 05/19/05 Page 5 of 12 Page|D 23

a diversity case if that jurisdiction is authorized by the law of
the state in which the court sits and is otherwise consistent with
the Due Process Clause of the Fourteenth Amendment. Youn v. Trackl
lng¢, 324 F.3d 409, 417 (6th Cir. 2003); Reynolds v. Int'l Amateur
Athletic Fed’n, 23 F.3d 1110, 1115 (6th Cir. 1994). Tennessee,

like many states, has a long-arm statute that extends its

jurisdiction to the limits of the Due Process Clause. See Tenn.

 

Code Ann. § 20-2-214{a)(6).

The Due Process Clause permits the exercise of both general
and specific jurisdiction. Aristech Chemical Int'l Ltd. v. Acrvlic
Fabricators Ltd., 138 F.3d 624, 627 (6th Cir. 1998). Plaintiff
does not argue that Leary and Benson have continuous or systematic
contacts with Tennessee sufficient to justify general jurisdiction,
but she does claim that Tennessee may constitutionally exercise
specific jurisdiction over thent Specific jurisdiction exists when
the suit arises from or is related to the defendant's contact with
the forum. §an, 324 F.3d at 418 (citing Helicopteros Nacionales de
COlOmbia, S.A. V. I-Iall, 466 U.S. 408, 414 n.B (1984}). The Sixth
Circuit has established a three-part test for determining whether
a court may exercise specific jurisdiction consistent with due
process:

1) the defendant must purposefully avail himself of the

privilege of acting in the forum state or causing a

consequence in the forum state; 2) the cause of action

must arise from the defendant’s activities there; and 3)

the acts of the defendant or consequences caused by the
defendant must have a substantial enough connection with

Case 2:O4-cv-O2445-SHI\/|-dkv Document 11 Filed 05/19/05 Page 6 of 12 Page|D 24

the forum state to make the exercise of jurisdiction over
the defendant reasonable.

;d; (quoting Southern Machine Co. v. Mohasco Industries, Inc., 401
F`.Zd 374, 381 (6th Cir. 1968)).

The Defendants' actions giving rise to this lawsuit took place
in Virginia. Nevertheless, Leary and Benson knew that Plaintiff
was to return the rental truck to the Budget facility in Memphis,
Tennessee, and that Plaintiff was then residing in Memphis. By
pressing charges against Plaintiff when they knew she and the
allegedly stolen truck were in Memphis, Leary and Benson
purposefully employed Tennessee’s law enforcement on their own
behalf. The arrest of the Plaintiff at her place of employment in
Memphis, Tennessee was an intended consequence of Leary and
Benson's decision to press charges in Virginia. Therefore, those
defendants had fair warning that they ndght have to defend a
lawsuit in Tennessee arising from their actions. §ee §an, 324 F.3d
at 418 (holding that a defendant has “purposefully availed” himself
of a forunt by engaging in activity' that should. provide “fair
warning” that he might have to defend a lawsuit there); World-Wide
Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 {1980).

Leary and Benson also meet the second requirement for specific
jurisdiction because this suit is clearly “related to" and

“connected with” their decision to establish contacts with

Case 2:04-cv-02445-SHI\/|-dkv Document 11 Filed 05/19/05 Page 7 of 12 Page|D 25

Tennessee.5 §ee ngg, 324 F.3d at 419; Third National Bank in
Nashville v. WEDGE Group. Inc., 882 F.2d 1087, 1091 n.2 (6th Cir.
1989).

Finally, the intentional consequences of the Defendants'
actions have a sufficient connection with Tennessee to make the
exercise of jurisdiction over the Defendants reasonable. Where the
first two criteria for specific jurisdiction are satisfied, “only
the unusual case will not meet [the] third criterion.” Aristech,
138 F.3d at 628 (quoting Theunissen v. Matthews, 935 F.2d 1454,
1461 (6th Cir. 1991)). That the Defendants do not reside in
Tennessee, without more, is insufficient to relieve them of the
burden of defending a lawsuit in Tennessee. “When minimum contacts
have been established, often the interest of the plaintiff and the
forum in exercise of jurisdiction will justify even the serious
burdens placed on the alien defendant.” §Qgg, 324 F.3d at 420
(quoting Asahi Metal Indus. Co., Ltd. v. Superior Court, 480 U.S.
102, 114 (1987)). Thus, the Plaintiff has satisfied her burden of
establishing this court's personal jurisdiction over Defendants
Leary and Benson.

III. Venue

The Defendants argue further that, questions of jurisdiction

 

5 Although Plaintiff's eventual arrest in Texas did not directly
implicate Tennessee law enforcement, it resulted from the Defendants' original
decision to effect Plaintiff's arrest in Tennessee. Therefore, it can be said
that the entire suit is “related to” or “connected with” the original decision
to press charges.

Case 2:04-cv-02445-SHI\/|-dkv Document 11 Filed 05/19/05 Page 8 of 12 Page|D 26

notwithstanding, the Western. District of Tennessee is not the
proper venue in which to bring this action. A plaintiff is allowed
to bring a diversity action in

1} a judicial district where any defendant resides, if

all defendants reside in the same State, 2) a judicial

district in which a substantial part of the events or

omissions giving rise to the claim occurred ... or 3) a

judicial district in which any defendant is subject to

personal jurisdiction at the time the action is

commenced, if there is no district in which the action

may otherwise be brought.
28 U.S.C. § 139l(a). Although all Defendants reside or do business
in the Western District of Virginia, Plaintiff may bring her action
in “any forum with a substantial connection to [her] claim.” IFL
Group, Inc. v. World Wide Flight Service, Inc., 306 F. Supp. 2d
709, 711 (E.D. Mich. 2004)(quoting First of Mich. Corp. v. Bramlet,
141 F.3d 260, 263 (6th Cir. 1998)). Other district courts have
noted that § 1391{a)(2) “does not require venue in the district
with the most substantial contacts to the dispute. Rather, it is
sufficient that a substantial part of the events occurred in the
challenge[d] venue, even if a greater part of the events occurred
elsewhere.” Id. (internal quotations and citations omitted}. As
explained above, the arrest of the Plaintiff in Memphis, Tennessee,
constitutes a substantial portion of the events giving rise to this

lawsuit. Therefore, the Western District of Tennessee is a proper

venue for the instant action.6

 

5 Although Plaintiff addresses the issue in her response, the Defendants
have not moved for a discretionary change Of venue under 28 U.S.C. § 1404(a).
Therefore, the court's analysis is confined to the question of whether venue

8

Case 2:04-cv-02445-SHI\/|-dkv Document 11 Filed 05/19/05 Page 9 of 12 Page|D 27

IV. Analysis

Plaintiff claims that the Defendants were guilty of negligence
and intentional infliction of emotional distress in pursuing a
criminal prosecution against her. The basis of her claims is that
the Defendants knew or should have known that she was in fact not
guilty of the charged crime. (Compl. j 24.) United States District
Courts are required to abstain from deciding federal cases when
doing so would directly disrupt an ongoing state proceeding. §ee
Younqer v. Harris, 401 U.S. 37 (1971). Younger abstention applies
when the state proceeding 1) is currently pending, 2) involves an
important state interest, and 3) affords the plaintiff an adequate
opportunity to raise constitutional claims. Middlesex County Ethics
Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 432 (1982); Carroll
v. City of Mount Clemens, 139 F.3d 1072, 1074 (6th Cir. 1998). The
complaint does not alleger nor do any of the subsequent filings
show, that the underlying criminal proceeding in Virginia has been
resolved.

An ongoing criminal proceeding necessarily implicates
important state interests. §ee Younger, 401 U.S. at 46-47.
Further, the criminal proceeding would present ample opportunity
for Plaintiff to challenge the Defendants' justification in

pressing criminal charges against her, the lack of which

 

is proper under § 1391(a).

Case 2:04-cv-02445-SHI\/|-dkv Document 11 Filed 05/19/05 Page 10 of 12 Page|D 28

constitutes the basis of this diversity suit.7 “When a person is
the target of an ongoing state action involving important state
interests, the state defendant cannot interfere with the pending
state action by maintaining a parallel federal action involving
claims that could have been raised in the state case.” Carroll, 139
F.3d at 1074.

The Supreme Court has not expressly held whether Younger
requires dismissal of an action seeking only monetary relief. §e§
Deakins v. Monaqhan, 484 U.S. 193, 202-03-(1988). In the Sixth
Circuit, district courts have been instructed to stay, rather than
dismiss, federal damages actions that otherwise meet the Younger
requirements. §ee Carroll, 139 F.3d at 1075 (citing Deakins, 484
U.S. at 202-03 & n.7). Whether` or not this suit meets the
requirements of Younger, the ongoing proceedings in Virginia weigh
in favor of staying it. “The District Court has broad discretion
to stay proceedings as an incident to its power to control its own
docket.” Clinton v. Jones, 520 U.S. 681, 706 {1997). Therefore,
the court will stay the instant action pending the resolution of

Plaintiff's criminal prosecution in 'V'irginia.8

 

7 Plaintiff does not bring constitutional claims as usually is the case
in Younger abstention. That Plaintiff instead brings claims based on state
law weighs just as heavily, if not more so, in favor of respecting any ongoing
proceeding in Virginia.

3 The court does not decide the Defendants' motion to dismiss to the
extent it asserts that Plaintiff has failed to make out a valid claim for
negligence and intentional infliction of emotional distress. The court will
take up those issues, if necessary, when it is apprised of the resolution of
the Virginia criminal prosecution.

10

Case 2:04-cv-02445-SHI\/|-dkv Document 11 Filed 05/19/05 Page 11 of 12 Page|D 29

V. Conclusion

For the foregoing reasons, the Defendants' motion to dismiss
is DENIED to the extent that it asserts lack of personal
jurisdiction. and improper 'venue. The case is STAYED pending
resolution of the criminal prosecution of Plaintiff in Virginia.
If that proceeding has in fact been resolved by adjudication or
dismissal of the criminal charges, Plaintiff is GRANTED leave to

amend her complaint to allege that fact.

So ORDERED this lsd day of May 2005.

Md/

SAMUEL H. MAYS, JR
UNITED STATES DISTRICT JUDGE

 

 

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DISTRICT oURT - WESTNER DIS"RICT oF T'NN'ESEE

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US DISTRICT COURT

